Case 1:21-cv-00840-RP Document 41 Filed 11/22/21 Page 1of 4

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TEXAS
AUSTIN DIVISION

NETCHOICE, LLC d/b/a Netchoice, a
501(c)(6) District of Columbia Organization et al.

 

-VS- CaseNo.: 1:21-cv-00840-RP

 

KEN PAXTON, in his official capacity as
Attorney General of Texas

 

MOTION FOR ADMISSION PRO HAC VICE

 

TO THE HONORABLE JUDGE OF SAID COURT:

Comes now Evan Miles Goldberg , applicant herein, and

 

moves this Court to grant admission to the United States District Court for the Western District of
Gidanews, Zne.} Golden Frey, Gm Bt}
Texas pro hac vice to represent*he ylon Bee, ile } > and in this case, and would

' Notthe Bee, Le
respectfully show the Court as follows:

1. Applicant is an attorney and a member of the law firm (or practices under the name of)

EVAN MILES GOLDBERG, PLLC

 

with offices at

 

 

 

Mailing address: 400 East 57th Street, Ste. 8F

City, State, Zip Code: New York, New York 10022
Telephone: 212-888-6497

Facsimile: 646-751-7938

 

Email: egoldberg@emglawfirm.com

 
Case 1:21-cv-00840-RP Document 41 Filed 11/22/21 Page 2 of 4

 

 

Since June 2015 , Applicant has been and presently is a member of and in
good standing with the Bar of the State of New York
Applicant’s bar license number is 5362943

 

Applicant has been admitted to practice before the following courts:

 

 

Court: Admission date:
All Courts of State of New York June 24, 2015
US. Dist. Ct. for S.D.N.Y. June 30, 2020

 

 

 

 

 

 

Applicant is presently a member in good standing of the bars of the courts listed above,
except as provided below (list any court named in the preceding paragraph before which

Applicant is no longer admitted to practice):

 

 

Applicant has never been subject to grievance proceedings or involuntary removal
proceedings while a member of the bar of any state or federal court, except as provided

below:

 

 

Applicant has not been charged, arrested, or convicted of a criminal offense or offenses,

except as provided below (omit minor traffic offenses):

 
10.

Case 1:21-cv-00840-RP Document 41 Filed 11/22/21 Page 3 of 4

Applicant has read and is familiar with the Local Rules of the Western District of Texas and

will comply with the standards of practice set out therein.

Select one:

L

Applicant has on file an application for admission to practice before the United
States District Court for the Western District of Texas.
Applicant has co-counsel in this case who is admitted to practice before the United

States District Court for the Western District of Texas.

 

 

 

Co-counsel: W. Scott McCollough

Mailing address: 2290 Gatlin Creek Rd.

City, State, Zip Code: Dripping Springs, Texas 78620
Telephone: 512-633-3498

 

Should the Court grant applicant’s motion, Applicant shall tender the amount of $100.00

pro hac vice fee in compliance with Local Court Rule AT-1(f)(2) [checks made payable

to: Clerk, U.S. District Court].

Should the Court grant applicant's motion, Applicant shall register as a filing user within 10

days of this order, pursuant to Administrative Policies and Procedures for Electronic Filing

in Civil and Criminal Cases in the Western District of Texas.
Case 1:21-cv-00840-RP Document 41 Filed 11/22/21 Page 4of4

Wherefore, Applicant prays that this Court enter an order permitting the admission of

Evan Miles Goldberg to the Western District of Texas pro hac vice

 

for this case only.

Respectfully submitted,

Evan Miles Goldberg
[printed name of Applicant]

-

[signature of Applicant]

CERTIFICATE OF SERVICE

&
I hereby certify that I have served a true and correct copy of this motion upon each

attorney, of eee the original upon the Clerk of Court on this the dnt day of
Nylon orl

Evan Miles Goldberg

 

[printed name of Applicant]

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[signature of Applicant]
